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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

&

PFLAG, INC., ET AL.,
‘*
Plaintiffs,
Vv.
x Civil No. 25-337-BAH
DONALD J. TRUMP ET AL., . ‘
*
Defendants.
‘*
* “ox * * * * * * * * * * * *
ORDER

For the reasons stated in the forthcoming memorandum opinion and those stated at today’s
hearing, it is hereby ORDERED that Plaintiffs’ Motion for a Temporary Restraining Order, ECF
35, is GRANTED. It is further

ORDERED that Defendants U.S. Department of Health and Human Services (“HHS”),
Acting HHS Secretary Dorothy A. Fink, Health Resources and Services Administration
CHRSA”), HRSA Principal Deputy Diana Espinosa, National Institutes of Health (“NIH”), Acting
NIH Director Matthew J. Memoli, National Science Foundation (“NSF”), NSF .Director

Sethuraman Panchanathan, and any subagencies of Defendant HHS, their officers, agents,

successors, servants, employees, and attorneys, and any other persons who are in active concert or

participation with them, are RESTRAINED from conditioning or withholding federal funding
based on the fact that a healthcare entity or health professional provides gender affirming medical
care to a patient under the age of nineteen under Section 3(g) of Executive Order 14168 and Section

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4 of Executive Order 14187; it is further

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ORDERED that Defendants must provide written notice of the Court’s temporary
restraining order to all agencies to which the Executive Orders were addressed. The written notice
shall instruct those agencies that they may not take any steps to implement, give effect to, or
reinstate under a different name the directives in Section 3(g) of Executive Order 14168 or Section
4 of Executive Order 14187 that condition or withhold federal funding based on the fact that a
healthcare entity or health professional provides gender affirming medical care to a patient under
the age of nineteen. The written notice shall also instruct those agencies to release any
disbursements on funds that were paused due to the Executive Orders; it is further

ORDERED that the temporary restraining order shall be in effect for fourteen (14) days;
it is further

ORDERED that Defendants shall file a status report on or before February 20, 2025,
apprising the Court of the status of Defendants’ compliance with this Order, including by providing
a copy of the written notice described above; it is further

ORDERED that the parties shall meet and confer and file a joint status report proposing a
preliminary injunction briefing schedule on or before February 18, 2025; it is further

ORDERED that the security requirement is hereby waived because Defendants will not
suffer any costs from the temporary restraining order and imposing a security requirement would

pose a hardship for Plaintiffs. Fed. R. Civ. P. 65(c).

Dated: February 13, 2025 UY. i

Ps Brendan A. Hurson
Time: u as ym United States District Judge

